           Case 2:06-cr-00198-RSL        Document 221       Filed 07/31/06     Page 1 of 1



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 7                               UNITED STATES DISTRICT COURT
                                WESTERN DISTRICT OF WASHINGTON
 8                                        AT SEATTLE
 9   UNITED STATES OF AMERICA,
10                 Plaintiff,                               Case No. CR06-198L
11          v.                                              ORDER ON MOTION
12                                                          FOR A BILL OF PARTICULARS
     DANIEL SILVA-CHAVEZ, et al.,
13                 Defendants.
14
15         This matter comes before the Court on “Defendant Pedro Cuellar-Garcia’s Motion for a

16 Bill of Particulars” (Dkt. # 172). The Court finds that the superseding indictment sets forth with
17 sufficient specificity the nature of the charges against Cuellar-Garcia in order to allow him to
18 prepare for trial, avoid unfair surprise, and assert the existence of an acquittal or conviction in
19 another jurisdiction, if applicable. See United States v. Giese, 597 F.2d 1170, 1180 (9th Cir.
20 1979). For these reasons, the motion for a bill of particulars is DENIED.
21
           DATED this 31st day of July, 2006.
22
23
24                                                    A
                                                      Robert S. Lasnik
25                                                    United States District Judge
26

     ORDER ON MOTION
     FOR A BILL OF PARTICULARS
